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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF OREGON

NATIONAL WILDLIFE FEDERATION, et al.,                   Civ. No. 3:01-cv-00640-SI

              Plaintiffs,

     and

STATE OF OREGON,                                        NEZ PERCE TRIBE’S
                                                        REPLY MEMORANDUM
             Intervenor-Plaintiff,                      IN SUPPORT OF NWF
                                                        AND OREGON’S
v.                                                      MOTION TO MODIFY
                                                        REMAND SCHEDULE
NATIONAL MARINE FISHERIES SERVICE,
U.S. ARMY CORPS OF ENGINEERS, and
U.S. BUREAU OF RECLAMATION,

             Defendants.




NEZ PERCE TRIBE’S REPLY MEMORANDUM IN SUPPORT OF                                1
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       The Nez Perce Tribe (Tribe) respectfully submits this memorandum in support of

National Wildlife Federation, et al. (NWF), and the State of Oregon’s joint motion to

modify (Motion) this Court’s July 6, 2016, Order of Remand (ECF 2089) (Remand Order).

                                          Discussion

       Federal Defendants’ response to the pending Motion is in essence a 26-page straw

man argument. NWF and Oregon address it in detail and reassert the correct nature of their

Motion, which asks the Court to allow Federal Defendants more flexibility, to avoid more

litigation, during the remand period. The Tribe supports their reply briefs and offers the

following comments:

       1. The underlying issue of this Motion – the lawful integration of ESA and NEPA

compliance within the remand – plainly was not foreclosed by the Remand Order. It was

expressly preserved for future resolution, “if not previously resolved.” Remand Order at 4.

That appeared quite possible, even then, because even then there was disagreement over the

issue, also expressly noted by the Court. Id. at 3. Federal Defendants finally made

resolution of this issue necessary when their October 2017 status report revealed no lawful

solution, and when their response at the November 2017 status conference with the Court

was to demand that Plaintiffs file a motion on the matter.

       2. NWF and Oregon’s joint Motion proposes to offer Federal Defendants additional

BiOp time and flexibility in aid of encouraging a lawful ESA/NEPA integration in this

remand, and in aid of not triggering additional litigation during this ESA/NEPA remand.

The Motion proposes a time-generous, ideally collaborative, path around a brick wall. If

Federal Defendants instead choose to run full-tilt into that wall, they can, and litigation in

this case – litigation that they continually, publicly, complain of as if it were of mysterious



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origin – may ensue. Even a casual observer would realize by now that the repetitive

litigation pattern of this case is self-inflicted, perhaps because the consequences of even

repeated federal ESA litigation losses are insufficient to alter the status quo.

       3. Federal Defendants’ assertions of pretext and hypocrisy are untrue and unfair.

The Nez Perce Tribe has watched Federal Defendants fail to comply with the ESA for these

listed species – salmon and steelhead that are integral to the existence and identity of the

Nez Perce people – for over 20 years. Any outrage at the repetitive nature of the case and

the present state of affairs belongs more truly to people who saw the opportunity presented

by an ESA-focused NEPA analysis, as a result of the Court’s May 2016 Opinion and Order.

       4. While Federal Defendants now entrench themselves as to an interim BiOp, the

rest of the story seems forgotten. The 2016 Opinion provided guidance and a vision of a

lawful process of integrated ESA and NEPA (for the first time to be focused on BiOp-

action alternatives) compliance. The Opinion plainly contemplated a NEPA analysis that

would consider a range of alternatives for a BiOp/ESA-based action, and therefore of

alternatives – perhaps never before considered – that would present options for meeting the

needs of the listed fish. “One of the benefits of a NEPA analysis, which requires that all

reasonable alternatives be analyzed, is that it allows innovative solutions to be considered

and may finally be able to break through any bureaucratic logjam that maintains the status

quo.” 2016 Opinion at 145.

       That does not mean that a NEPA analysis would not then consider the effects and

costs/benefits of such actions across a spectrum of resource areas, as is fundamental to

effects-analysis under NEPA. But it does mean that the proposed action and its action

alternatives – the very purpose and need for the EIS – should be variations of FCRPS



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actions that would be (intended to be) ESA-compliant. That was the point of the 2016

Opinion as to NEPA, within this ESA-driven case, and it should be the point of the ongoing

EIS.

        Instead, the EIS moves ahead 1 as a five-year, $80 million, Systems Operations

Review update, with a “goal” that “more than one” alternative will be an action that the

agencies will “believe could be” ESA-compliant. Federal Status Report at 8 (ECF 2242).

Without having appealed the Court’s 2016 Opinion – the law of this case – Federal

Defendants seem intent on taking each step in this remand in a way that rejects its purpose

and principles.

                                        Conclusion

        The Nez Perce Tribe respectfully urges the Court to grant the joint motion of NWF

and the State of Oregon to modify the Court’s current Remand Order.

 Dated: March 30, 2018.
                                       Respectfully submitted,
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                                        s/ Geoffrey Whiting
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        1
          The Tribe remains a Cooperating Agency in the EIS process, intending to provide
its perspective, input, and perhaps influence. And it is not inconsistent with the legal
criticism above to say that the agency staff conducting this unasked-for Systems Operations
Review EIS are diligent and sincere in their development of what the Tribe sees as a flawed
EIS.

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                             CERTIFICATE OF SERVICE

       I certify that on March 30, 2018, I electronically filed the Nez Perce Tribe’s

Reply Memorandum in Support of NWF and Oregon’s Motion to Modify Remand

Schedule with the Clerk of the Court using the CM/ECF system, which will generate

automatic service upon all parties enrolled to receive such notice. I further certify that

the following were served via method(s) indicated:

First Class U.S. Mail and CM/ECF system to:

Dr. Howard F. Horton, Ph.D.
U. S. Court Technical Advisor
Professor Emeritus of Fisheries
Department of Fisheries & Wildlife
104 Nash Hall
Corvallis, OR 97331-3803
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                                                       s/ Anjee Toothaker
                                                       Anjee Toothaker




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